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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH MANTHA, on behalf of himself
and all others similarly situated,
                                                         Civil Action No. 1:19-cv-12235-LTS
                      Plaintiff,

       v.


QUOTEWIZARD.COM, LLC,

                      Defendant.


                                   AFFIDAVIT OF COUNSEL

       I, Kevin P. Polansky, do hereby state as follows:

       1.      I am an attorney licensed to practice law in Massachusetts and I am counsel of

record for Defendant QuoteWizard.com, LLC (“QuoteWizard”).

       2.      I have personal knowledge of the matters set forth in this Affidavit. I submit this

Affidavit in support of QuoteWizard’s Motion for Summary Judgment.

       3.      Exhibit 1 to QuoteWizard’s brief contains a true and accurate copy of Plaintiff

Joseph Mantha’s (“Mantha”) cellular phone call records for January 1, 2019 through December

28, 2019 that were produced in discovery in this case.

       4.      Exhibit 2 to QuoteWizard’s brief contains a true and accurate copy of the

Deposition Transcript of Derek Padon (condensed) taken in this case.

       5.      Exhibit 3 to QuoteWizard’s brief contains a true and accurate copy of the

Transcript of the First Deposition of Mantha taken in this case.

       6.      Exhibit 4 to QuoteWizard’s brief contains a true and accurate copy of the

Transcript of the Second Deposition of Mantha taken in this case.
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        7.     Exhibit 5 to QuoteWizard’s brief contains a true and accurate copy of the Doctor

Franklin Perkins School Job Posting for Director of Residential Services, as produced by the

Doctor Franklin Perkins School pursuant to a subpoena issued from my office in this case.

        8.     Exhibit 6 to QuoteWizard’s brief contains a true and accurate copy of the Doctor

Franklin Perkins School On-Call Schedules for portions of 2019, as produced by Mantha during

discovery in this case.

        9.     Exhibit 7 to QuoteWizard’s brief contains a true and accurate copy of the

Deposition Transcript of Melisa Mantha (condensed) taken in this case.

        10.    Exhibit 8 to QuoteWizard’s brief contains a true and accurate copy of the Doctor

Franklin Perkins School’s Cell Phone Reimbursement Policy, as produced by the Doctor

Franklin Perkins School pursuant to a subpoena issued from my office in this case.

        11.    Exhibit 9 to QuoteWizard’s brief contains a true and accurate copy of the same

records as Exhibit 1 herein, but with all telephone numbers associated with the Doctor Franklin

Perkins School or its employees highlighted for reference as a demonstrative. The telephone

numbers for the school or its employees were all either provided by Mantha in discovery or

publicly available on the school’s website. In total, 1,400 calls are highlighted based on this

criteria.

        12.    Exhibit 10 to QuoteWizard’s brief contains a true and accurate copy of the Doctor

Franklin Perkins School Entry for Mantha from its HRIS System, as produced by the Doctor

Franklin Perkins School pursuant to a subpoena issued from my office in this case.

        13.    Exhibit 11 to QuoteWizard’s brief contains a true and accurate copy of the

Deposition Transcript of Steven Novia (condensed) taken in this case.




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        14.    Exhibit 12 to QuoteWizard’s brief contains a true and accurate copy of the

Transcript for the First Deposition of RevPoint Media, LLC (condensed) taken in this case.

        15.    Exhibit 13 to QuoteWizard’s brief contains a true and accurate copy of the

Deposition Transcript of QuoteWizard (condensed) taken in this case.

        16.    Exhibit 14 to QuoteWizard’s brief contains a true and accurate copy of the

Transcript for the Second Deposition of RevPoint Media, LLC (condensed) taken in this case.

        17.    Exhibit 15 to QuoteWizard’s brief contains a true and accurate copy of the

Deposition Transcript of Plural Marketing Solutions, Inc. (condensed) taken in this case.

        18.    Exhibit 16 to QuoteWizard’s brief contains true and accurate copies of July 28,

2020 and September 11, 2019 e-mails produced by Plural Marketing Solutions, Inc. pursuant to a

subpoena in this case.

        19.    Exhibit 17 to QuoteWizard’s brief contains a true and accurate copy of the text

message and call history between QuoteWizard and Mantha, as produced in discovery in this

case.

        20.    Exhibit 18 to QuoteWizard’s brief contains a true and accurate copy of a

September 4, 2019 demand letter served by Mantha through counsel on QuoteWizard.

        21.    Exhibit 19 to QuoteWizard’s brief contains a true and accurate copy of text

messages between Steven Novia and Mantha, which do not contain the dates of transmission, as

produced by Mantha in discovery in this case.



                           [SIGNATURE ON FOLLOWING PAGE]




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Signed under the pains and penalties of perjury, this 14th day of July, 2021.



                                      /s/ Kevin P. Polansky
                                      Kevin P. Polansky




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